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                   Exhibit A
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            CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION




           Continuous Quality
             Improvement
                   On Site Audit Guidebook

                                   7/2/2018
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Scheduling Your Visit
Coordinating Your Visit
   a) Prior to the audit quarter, the Mental Health Regional team will work together to
      schedule a range of audit date(s).
       Audit dates are not finalized until the Mental Health Regional team coordinates the
          dates with the institution staff.
   b) A Mental Health team member contacts the Chief of Mental Health and CEO of the
      scheduled facility to determine final audit dates.
       Final dates are determined based upon IDTT, ICC, and group schedules. Ensure that
          these meetings, in the locations in which you need to observe them, are occurring on
          the days you are at the institution.
   c) Team members will notify all the parties of the final dates.
       The mental health Regional Administrator or designee will notify the custody team
          member which of the dates they previously agreed upon will be the final visit dates
          (based upon scheduling of meetings).
       Custody team members will notify the institution’s Warden of the visit dates along
          with expectations for the audit.
              o Expectations are noted in the pre-visit checklist (Attachment A).
              o Other expectations include:
                        The Warden’s participation in a check in and checkout meeting.
                        Custody staff are available to escort audit team members upon
                           request.
       The mental health Regional Administrator or designee will notify the CEO and CMH of
          the final visit dates and provide expectations for the audit.
              o Expectations are noted in the pre-visit checklist (Attachment A).
              o Other expectations include:
                        Staff conduct business as usual (do not change group leaders or IDTTs
                           membership for the audit).
                        CEO and CMH participation in the check in and checkout meeting.
                        Adherence to schedules (ICC, IDTT, groups, I/P survey).
                        Staff available to escort audit team members.


Creating the Schedule
   a) At least two weeks prior to your scheduled visit, the Mental Health Regional analyst will
      request the name of a local contact that has access to facility scheduling information.
       Ongoing communication with this liaison is critical to ensure your visit is well
          organized and the institution staff knows what is expected.
       Telephone calls are critical to finalizing a schedule that will help ensure your visit goes
          smoothly.
   b) Coordinate with institution designee.
       This is done by the regional analyst.


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           o Provide the pre-visit checklist (Attachment A) for the dates you will be visiting
             the institution, to request:
                  Interdisciplinary Treatment Team (IDTT for all MHSDS I/Ps-ASU, ML
                     EOP, ML CCCMS, MHCB, SHU, PSU) schedules;
                  Institutional Classification Committee (ICC) schedules; and
                  ASU, ML EOP, and PSU group therapy schedules.
           o Coordinate the schedule with the institution designee using the IDTT, ICC, and
             group schedules, and the “prescheduled audit areas” sheet (Attachment B).
             Ensure all required pre-scheduled meetings/interviews are included in your
             schedule.
                  Custody team members do not have any pre-scheduled events so the
                     defined schedule is primarily for the clinical team.
                  To avoid excessive walking from one end of the institution to another,
                     ensure the pre-scheduled items are coordinated logistically with the
                     lay-out of the institution.
                  Build in estimated time for non-scheduled audit items (example:
                     Reserve about two hours in your schedule before or after the MHCB
                     IDTT to complete all non-scheduled MHCB items).
                  Include in the schedule all areas where there are no pre-scheduled
                     events. This will help ensure the team remembers to visit all required
                     areas during the visit (example: alternative housing, OHU).
                  Teams can be divided to accommodate scheduling (example: one
                     clinical team member can go to a CCCMS IDTT, while another goes to
                     an EOP IDTT in another yard, and a custody team member is in the
                     ASU).

 c) The Regional Analyst or designee provides the random I/P list to the
     Institution’s designee to schedule the I/P survey.
          o Two weeks before the visit:
                   Go to Lifeline Internet site, Click on “Quality Management” (under
                      Divisions), click “Quality Management Portal” (under External Links),
                      click “Mental Health Reports” (under Management Reports), click
                      “Mental Health Reports” (under Reports), select “Random I/P List”
                      enter parameters (see below).
                          Example: Mainline EOP (ML EOP) list
                          Enter:
                          Sub program - uncheck ASU, SHU, and PSU
                          Number to select (auto populated)
                          Program *Mainline*
                          Mental Health Identifier (MHI) *EOP, EOPMod*
                          Cell bed (Null)
                          Provider *Any*
                          Click “View Report”
                          Example: ASU
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                          Sub program *All*
                          Number to select (auto populated)
                          Program *ASU*
                          Mental Health Identifier (MHI) *EOP, EOPMod, CCCMS*
                      Export each list to Excel and save.
                      Run the report for ML CCCMS, ML EOP, RC, ASU, SHU, and PSU
                       programs.
                      Ensure you only run the list for programs offered at the institution.

 d) Email the saved excel random I/P list(s) to the designee at the institution with the
    instructions for them to schedule:
     One group of 10 I/Ps in each yard per program (ML CCCMS, ML EOP, RC, ASU, ASU
        EOP HUB, SHU, and PSU) as applicable to their institution.
     One group of up to 10 I/Ps at Desert institutions in the MHSDS program. If there are
        less than 10, then ducat all I/Ps.
     Do not cancel the I/P’s treatment for them to participate in the I/P survey.

 e) Email the “escort officer script” (Attachment C) along with the Excel random I/P list to the
    institution designee.
     Ask the designee to provide the script to the officers and request that they use it.
     Contact a custody audit team member and ask that the script is provided to the
        Warden. Also ask them to request that the Warden provide the script to the officers
        and use it to explain the purpose of the I/P survey to the I/Ps.

 f) Remind the institution contact to email electronic copies of the ICF/ACUTE returns list (to
    both the MH regional contact and the regional LT), SRE mentor program training list, and
    staffing numbers for clinical staff.
     Call the institution designee one day before your visit to remind them about the
        custody script. Verify that I/Ps are scheduled for the I/P survey and ensure you know
        about any last minute schedule changes.
     The institution will provide the percentage of all PC and Psychiatrist appointments
        seen in a confidential setting.
            o Two weeks prior to the visit:
                    Run the Appointments report in the “On Demand” folder, select
                       institution, mhi, program, subprogram, start/end dates, modality(all),
                       tx category PC or/and Psy, leave all other defaults.
                    Export each list to Excel. Create a pivot table. Pivot by Modality (Row)
                       and (Values), Housing and LOC (filters).Add a column to the right of the
                       table and label it “Percentage for Standard Confidential”, compute the
                       percentage. Create a table for each set of contacts.
     The Regional analyst or designee ensures all attendees and their equipment have
        been cleared for entrance.



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          The Regional analyst or designee ensures a call in line, and invitations are provided to
           exit meetings. (Refer to attachment M for instructions and list of required attendees).


Preparing for Your Visit
Data Review
   a) Within one week before your visit:
       Review all data on the performance report from “on demand”. This will help inform
         your visit and prompt you to ask further questions and/or undertake additional
         investigations.

Computer/Tool Updating
   a) If you receive a notification email from the QM team indicating that there is a new release
      of the tool, click on the update link which appears as:
      Click here to install/update CQIT (this will be emailed to you) to update the tool.
   b) Test the update to ensure the tool is working properly.
   c) Update I/P lists in CQIT - The night or morning before you go – by clicking on “Refresh
      Files”.
   d) At the end of every quarter and once you no longer need the audit responses that are
      stored on your computer, select “clear data” on the home screen of CQIT. This will clear
      all of the data from your prior quarterly visits and reset your color coding of items (with
      the exception of I/P flags).
            Note that all data must be uploaded to the server before you clear data.
            You can access prior audit data numbers through the following link:
               CQIT Audits
            Previously submitted comments are found through this link:
               CQIT Comments

Pre-Visit Call
   a) Mental Health and Custody audit team designee should coordinate a pre-visit call with
      the CEO, Warden, Health Care AW, and CMH the week prior to the visit.
   b) All visit expectations will be expressed including:
            I/P Survey script
            I/P Survey ducating and escorts (timely)
            Binder preparation
            Confidentiality of I/P survey
            Institution mental health staff not to attend I/P survey
            CMH not to attend any observation meeting unless they typically attend




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What to Do Upon Arrival
Check In-Meeting
   a) The first thing that will occur at the start of each visit is a brief “check-in” meeting with,
      at a minimum, the CEO, CMH, Warden, custody audit team, and mental health audit team.
      It is also recommended that facility Captains attend. ( See attachment H for entrance
      talking points)
   b) Warden and CEO/CMH presentations
            Custody audit team members may ask Wardens to provide any relevant updates
               regarding their program, mission, etc.
            Mental Health audit team members may ask CEOs and CMHs to provide any
               relevant updates regarding their mental health census, populations, and program
               changes.
   c) Custody and Mental Health presentations
            Both audit teams should provide institution leadership with an overview of the
               areas in which they will be visiting.
            At the inception of the visit, the audit teams should inform institutional leadership
               that the visit is a means to collect data to provide support tools for leadership and
               their staff.
               o Emphasize that the reports generated from the visit will allow them to use and
                   make decisions about their quality improvement priority areas.
               o Emphasize that the reports generated from the visit will allow them to
                   facilitate change through their own quality management system.
            Data discussion – A designated mental health audit team member will provide an
               overview of the data that was reviewed in Step I of “Preparing for Your Visit” in
               this training guide on the performance report.


A designated custody staff member will review all relevant custody data from the Mental
Health Performance report and the CDCR Office of Research site (for welfare check data).

Document Binders
   a) Before you leave the check-in meeting, ask institutional staff for the document binders
      (one for mental health and one for custody) outlined in the pre-visit checklist (Attachment
      A) provided by the team members ahead of the visit.
           The details related to the items that go into these binders are in the pre-visit
             checklist (Attachment A).




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Mental Health Audit Instructions
Preface
This guidebook is designed to provide specific audit instructions for every audit included in your
Continuous Quality Improvement Tool (CQIT) to improve inter-rater reliability and validity of our
audits. Although CQIT covers a great deal of items that shall be reviewed on site, it is also critical
that each auditor pay special attention to qualitative items that may not be explicitly written in
CQIT. It is critical that all information available (CQIT audit items, other performance report
items) are utilized to paint a complete picture on institution performance using your written
report.

For example: Performance report reflects high percentage of appointment cancellations (uses
EHRS data), I/Ps report they don’t get to their appointments on time (CQIT pt survey item), and
while on site you notice the MH staff is unorganized and there is a lack of escort officers (not in
any formal audit but important to note and include in your report).

Also note that the I/P and staff interview questions are predominantly conveyed through report
writing. Although I/P survey questions are measureable, questions related to unclothed body
searches, custody response, timeliness of groups, and yard time offered in restricted units are
not reported on the performance report from a I/P report perspective; these items are intended
to further inform your impression and other data regarding institution performance in these
areas.


Treatment Space (RC, ML CCCMS, ML EOP, ASU, SHU, PSU, LTRH, STRH, Condemned)
   a) General instructions
          Respond one time for each treatment room observed.
          If possible, ask staff about accessibility to each space; otherwise enter the overall
            response each time you enter data for the space.
          In the audit sections relating to staff’s report of access to space, respond one time
            for each staff person interviewed.
          In auditing treatment space, it is not necessary to observe a room in use. Instead,
            staff may be asked about the size of the space.
          If possible, complete the IDTT and group Tx space audits while observing IDTT and
            group.

   b) Group Treatment Space
            1. Is the group treatment space confidential?
                 o Confidential means other I/Ps cannot see or hear the interaction and other
                    staff cannot hear the interaction.


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             2. Is the space large enough to accommodate chairs for each participant?
                  o If you do not respond to this question while observing a group, you may
                     need to ask staff if they usually (more than half of the time) have enough
                     chairs for everyone.

             3. Does the space have adequate ventilation and temperature control (not too
                hot)?
                 o Noting that everyone prefers a different room temperature, respond if the
                   room is judged by the auditor to be too “stuffy” or if participants report it
                   is too hot.

  c) Individual Treatment Space
            1. Is the treatment space observed confidential?
                  o Confidential means other I/Ps cannot see or hear the interaction and other
                    staff cannot hear the interaction.

             2. Is there space enough for two chairs?
                  o If you do not respond to this question while observing an individual
                     session, you will need to determine if the space has enough room for two
                     chairs to fit in comfortably.

             3. Is the space configured so the space is safe?
                  o Examples of unsafe space include:
                         The space is set up so the I/P sits by the door, blocking the door
                           from custody being able to get in if there were an emergency.
                         The space is used for storage of items (i.e. broom closet, storage
                           for beds or other items).
                         The space is in a remote area with no custody supervision or
                           proximity to respond in case of an emergency.
                         The space is in an area where an alarm will not work.

             4. Is the space well ventilated and temperature controlled (not too hot)?
                  o This is more difficult to assess in an individual room with no people using
                     the space. To assess you may:
                          Interview staff and ask about ventilation.
                          Noting that everyone prefers a different room temperature,
                            respond if the room is judged to be too “stuffy”.

             5. Do staff report that they have access to confidential individual Tx space when
                needed?
                 o Confidential means other I/Ps cannot see or hear the interaction and other
                   staff cannot hear the interaction.

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   d) IDTT Treatment Space
                  o Complete this audit while observing the quality of the IDTT
             1. Is there enough space for each participant to have a chair?
                  o Do not count the audit team. Only determine this by judging if there is
                     enough space for regular institution team members.

               2. Is there a chair for each participant?
                    o Do not count the audit team. Only determine this by judging if there is a
                       chair for regular institution team members.
                    o This includes the I/P having a chair, but the custody escort does not require
                       a chair.

               3. Is there a conference table?
                    o Some rooms have a small side table in the middle used as a conference
                       table. This is not adequate and does not count as a “yes”.

               4. Is the space free from unnecessary and distracting noise?
                    o Some examples of unnecessary and distracting noise are:
                           Loud fans that make it difficult to hear.
                           A crowd of people and activity right outside the room that make it
                             difficult to hear.

               5. Is the space free from unnecessary interruptions (i.e. People walking
                  through)?
                    o Some examples of unnecessary interruptions include:
                           Space in which people have to walk through the meeting to get to
                             other locations in the facility.
                           Space in a large area (such as the dining room) where many people
                             are regularly entering and exiting the area during the meeting.

               6. Is the space well ventilated and temperature controlled (not too hot)?
                    o Noting that everyone prefers a different room temperature, respond if the
                       room is judged by the auditor to be too “stuffy” or if participants report it
                       is too hot.




IDTT Observation [ML CCCMS, ML EOP, MHCB, ASU, SHU (if applicable), PSU, LTRH, STRH, Condemned]
   a) General Guidelines



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            You are required to observe five I/P IDTTs in one unit of each program (e.g., if the
             prison has three separate EOP units, you only need to sit in on one of their IDTTs
             for five I/Ps) but you must rotate units each visit to ensure over time all programs
             are sampled.
            If there are less than five to observe in any given program, observe all.
            Before the first I/P is brought in, introduce yourself to the team and tell them:
             o You must introduce yourself to each I/P.
             o Other than your initial introduction, they should proceed with the meeting as
                  they typically would. Do NOT present to you.
             o To the extent that any of the attendees are present at the IDTT due solely to
                  the audit, politely request that they not attend so that the audit fairly
                  represents the quality of the treating team members.
             o Ask for a list of I/Ps scheduled to be seen by the IDTT. This will help you with
                  entering the I/P CDCR numbers as they are brought in.

  b) IDTT observations
            1. Did the IDTT start timely??
                 o Judge this using the schedule you received in planning your visit. If the
                   meeting is more than 5 minutes late starting, note this as a “no” unless
                   there was a legitimate reason (such as one of the team members attending
                   to an emergency), that does not appear to the norm.

             2. Did the IDTT Leader state the purpose of the IDTT?
                  o This will be apparent. The IDTT leader is expected to tell the I/P the
                    reason(s) they are having the meeting.

             3. Did the primary clinician complete or update the PC intake evaluation prior
                to the IDTT meeting?
                  o The requirement for a new or updated intake evaluation will depend on
                    the I/P’s program. If it is required, the PC must complete either a new 7386
                    or update the current 7386 on a progress note or 7389.
                  o You may need to ask the PC after the I/P leaves if you can see this
                    paperwork; other times it may be obvious as they will be looking at it in
                    the IDTT.

             4. Did the psychiatrist complete the 7230-G intake evaluation prior to the IDTT
                meeting?
                  o The psychiatrist must complete an initial evaluation (intake evaluation
                    documented on a progress note) prior to the IDTT.
                  o You may need to ask the psychiatrist after the I/P leaves if you can see this
                    paperwork; other times it may be obvious as they will be looking at it in
                    the IDTT.


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          5. If it appears that the I/P’s mental health status had an impact on his/her
             understanding of proceedings, did staff members in IDTT ensure effective
             communication?
                o This applies only to I/Ps who you, as a clinician, observe to have difficulty
                   paying attention to or understanding what the IDTT members are saying.
                   This is NOT required for all I/Ps.
                        Training discussion – what are some of the things you might
                           observe with an I/P who is having difficulty understanding?
                o Note N/A if you judge the I/P as being able to understand.
                o Note this as a “yes” if any member in the IDTT checked the I/P for
                   understanding by asking him/her to restate what was said.

          6. Did PC provide succinct case formulation (Four P’s) to inform relevant
             treatment information including, but not limited to:
               o Functional impairments
               o Diagnosis
               o Areas of distress
               o Strengths
               o Weaknesses
               o History of mental illness, hospitalizations, suicide attempts

          7. Did the psychiatrist provide relevant information regarding diagnosis,
             medications to address the diagnosis, and discuss side effects?
               o The psychiatrist should express what was prescribed and the rationale, or
                 if no medication were prescribed the rationale.
               o The psychiatrist should talk with the I/P about side effects and benefits
                 (risks and benefits) of the medication prescribed, if medication is
                 prescribed.

          8. Was the I/P invited to the IDTT and asked open ended questions that
             enhances his or her understanding of the treatment plan?
              o Select N/A if the I/P declined to attend or there is good clinical rationale
                for not inviting the I/P.
              o If the I/P attends, one can assume he/she was invited to attend.
              o Asking only whether the I/P “has any questions” is insufficient.
              o Some examples of questions you might look for to qualify as a “yes”
                response are:
                      Can you tell me what we said we would be working on together?
                      Can you tell me what we said is your diagnosis? What does that
                         mean?
                      Can you tell me what this meeting is about?



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          9. Was the Correctional Counselor engaged in the discussion, knowledgeable,
             and provided relevant information to the case?
               o The Correctional Counselor does not have to give an entire case
                 presentation but is expected to provide relevant custody information and
                 engage in the team’s discussion.

          10. Did the IDTT leader facilitate a team discussion by attempting to engage all
              participants (including staff and the I/P)?
                o If the IDTT leader asked other team members questions to prompt their
                  input, this response is “yes” even if the team leader was unsuccessful in
                  his/her attempt.

          11. Did the overall IDTT include interactive discussion of all staff participants
              toward the treatment plan?
                o This is about the interaction of all team members; if team members
                  present information in isolation, and then disengage, the response to this
                  item is “no.”
                o If one staff participant on the I/P’s treatment team does not interact, the
                  response is “no”.
                o You may exclude staff attendees who are NOT on the I/P’s treatment team
                  but are in attendance (this should be clear from introductions at the
                  beginning of the meeting).

          12. Was the I/P talked to rather than about in language that is at the I/P's level?
               o This will be evident. It is the expectation that IDTT staff members discuss
                 treatment options with the I/P, rather than present their case to other
                 team members or discuss treatment options with other team members
                 and not engage the I/P.

          13. Were measurable treatment goals discussed?
               o All treatment goals must be measurable.
                       For example: “Your short-term goal is to be free of auditory
                         hallucinations for two weeks. Your long-term goal is to come out
                         of your cell for yard time at least two times per week for the next
                         two months.”

          14. Were considerations on the 7388B and appropriateness of level of care
              discussed?
                o Statements such as “doesn’t meet any indicators on 7388B” are not
                  acceptable – this will not be meaningful to the I/P.
                o Look for statements such as “you are doing well at the EOP level of care so
                  I am recommending we keep you at this level of care, you have not had

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                         any MHCB admissions, you are going to most of your treatment
                         appointments, and we are making progress on your treatment goals.”

                15. For IDTT updates ONLY: Did the team leader discuss progress towards the
                    treatment goals?
                      o The PC is expected to discuss with the IDTT what progress, if any, has been
                        made toward measurable treatment goals.
                            For example: “Mr. Y has reported that he accomplished his goal of
                               being free from auditory hallucinations for two weeks. He is
                               working towards his long term goal of coming out for yard at least
                               three times per week for two months and has done this for one
                               week so far.”

                16. Can the clinician access the health record and are they using it as needed?
                17. Can the correctional counselor access the c-file/ERMS and are they accessing
                    it as needed?
                18. For Initial EOP IDTTs and IDTTs in which an IP does not have a work/education
                    assignment, was eligibility (clinical appropriateness) for program assignment
                    discussed?
                19. Did the treatment team discuss what, if any, reasonable accommodations may
                    be needed for program assignment?
                20. Is management of I/Ps resistant to treatment addressed through an
                    individualized treatment intervention and goals with custody input?
                21. Did the treatment team discuss if there were any RVR write ups?
                22. If appropriate to address in treatment plan, was the behavior accounted for in
                    the treatment plan?
                23. Suicidal pts only: Is the safety plan discussed?
                24. MHCB only: are levels of observation discussed?
                25. MHCB only: is level of observation justified?
                26. MHCB only: Is the discharge plan discussed?




I/P Interviews (RC, ML CCCMS, EOP, ASU, PSU, SHU, LTRH, STRH, Desert Institutions, RC EOP)
    a) First Steps: Logistics
               1. The regional analyst or regional administrator will run a random list from on
                   demand at least two weeks prior to your visit and send the list to the

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                institution’s Chief of Mental Health and to your contact at the institution. The
                list MUST be run for two weeks prior to your visit to ensure that I/Ps who are
                interviewed have been in the program for several weeks (not applicable to
                Desert Institutions).
             2. Prior to and again upon arrival at the institution, confirm that the institution
                received the list and remind institution leadership when you plan on
                conducting the I/P surveys.
             3. Ensure that the institution staff followed the pre-visit checklist and they plan
                on ducating 10 I/Ps to a group room for you. Advise the institution staff to skip
                I/P names on the list for those who are no longer in the program (this is going
                to occur since we run a list two weeks prior).
             4. Remind your institution contact that the custody officers must use the script
                to explain to I/P the reason for the ducat.

  b) Data Entry
            1. All integer responses must be entered.
                 o For any items that are N/A, enter 0 for all questions that are not applicable.
                    The computer will score them as N/A.

  c) Conducting the Interviews
           1. Introduction - Before you begin asking the standardized questions:
                 o Introduce yourself
                 o Explain that you are there to conduct a I/P survey to see how they rate the
                   treatment that is being provided to them.
                 o Explain that they were randomly selected
                        “You were selected randomly. Our computer system mixed up all
                           of the names of I/Ps in the MH program in ML EOP at this institution
                           and we just picked the first names that came up for our interview.”
                 o Explain that the survey is anonymous.
                        “This is anonymous. Although you were ducated for this, we do not
                           know who you are and we are not keeping the ducats nor are we
                           putting any names or CDCR numbers into our computer. We want
                           you to be as honest as possible.”
                 o Explain that you have to ask each question in positive and negative format
                   because some people don’t respond and we need both to calculate the
                   responses. Remind I/Ps to respond only once.
                 o Explain what is meant by usually or mostly.
                        “When I say usually or mostly, I mean more than half of the time.
                 o Remind I/Ps to only answer about the program and institution in which you
                   are conducting the survey.
                        Answer about your experiences here at _________only

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               o Explain to I/Ps that you need to count responses, so you need them to raise
                 their hand high in the air and hold it up while you count when they
                 respond.
               o Explain to I/Ps that you also want to hear more about their experiences
                 but to please hold off until the end, because many of the things they will
                 likely want to tell you about will likely be asked in the survey.

          2. Asking the standardized questions
              o Although it is critical that all assessors utilize the standardized questions as
                their template, to create an improved communication flow and ensure we
                obtain as many accurate responses as possible, questions may be
                amended as needed.
                     For Example: Instead of asking “What keeps you from going to your
                        MH appointments?” You might ask, “There are times when you
                        may not be able to get to your MH appointments, when that
                        happens, what are some of the reasons you aren’t able to go?”
              o The most important thing here is to use your clinical skills to read the I/Ps.
              o Another example is when you have a smaller group of I/Ps you may not
                need to ask the positive and negative question each time.
                     For Example: Let’s say you are interviewing five I/Ps and you ask
                        “Raise your hand if you feel that you are seen as often as you need
                        to be?” Rather than asking the next question “Raise your hand if
                        you feel that you are NOT seen as often as you need to be?” You
                        may just be able to turn to the I/Ps that did not raise their hand on
                        the first question and ask, “You didn’t raise your hand, does that
                        mean you do not think you are seen as often as you need to be?”

          3. Getting qualitative details using dropdown boxes
              o Once you have ascertained how many I/Ps are satisfied and/or dissatisfied,
                you need to get information about where we can make improvements.
              o Ask each I/P who reported satisfaction to raise their hand then, one by
                one, ask what they like about the treatment. Use the dropdown boxes to
                record their responses, and when no dropdown is available for the
                response, mark “other” and type it in.
              o Now ask each I/P who reported dissatisfaction to raise their hand, one by
                one, and ask how we can make improvements. Again, use the dropdown
                boxes to record responses, and when no dropdown is available for the
                response, mark “other” and type it in.
              o If you frequently get a response that is not on the dropdown, notify the
                QM team so a drop down for this response can be added.

          4. Managing group leaders



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                 o A limitation of conducting interviews in a group setting is that a strong
                   group leader can take over the group and influence other’s responses.
                        Use your clinical skills to minimize this.
                        Let every person in the group know their responses are kept among
                           the group.
                        If anyone is uncomfortable responding within the group, they can
                           see you after.
                        If any I/P expresses disinterest in participating and wants to leave,
                           let him or her leave.

            5. Managing non responders
                o You may encounter a situation where an I/P does not respond to your
                  questions, or does so but not according to what you asked (i.e. Shrugs
                  shoulders when you ask who likes/dislikes their group therapy).
                      Do not immediately make assumptions about their responses.
                         Again use your clinical skills to engage the I/P. Ask for clarification
                         if needed.
                      If it appears the I/P is not stable and the responses are not likely to
                         be meaningful, do not count this I/P in your sample as they meet
                         our exclusionary criteria.
                      If they are stable but simply withdrawn, offer to get responses
                         afterwards or do what you can to draw them out.

  d) Standardized Questions
            1. Raise your hand if you go to most of your MH appointments?
            2. Raise your hand if you do NOT go to most of your MH appointments?
            3. What keeps you from going to your MH appointments?
                 o Did not get ducat
                 o Escort problems
                 o Modified program
                 o Discouraged by others
                 o Weather (too cold, too hot)
                 o Schedule conflicts (other appointments, work, visiting, canteen)
                 o Treatment is not helpful
                 o I don't like my clinician
                 o Symptoms of mental illness (e.g., “too depressed”)
                 o Other
            4. Raise your hand if you are usually able to get to your MH appointments on
               time?
            5. Raise your hand if you are NOT usually able to get to your MH appointments
               on time?



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          6. When you don’t get there on time, what types of things keep you from getting
              to your appointments on time?
                o Did not get ducat
                o Escort problems
                o Modified program
                o Discouraged by others
                o Weather (too cold, too hot)
                o Schedule conflicts (other appointments, work, visiting, canteen)
                o Other: Describe
          7. Raise your hand if you feel that you are seen as often as you need to be?
          8. Raise your hand if you feel that you are NOT seen as often as you need to be?
          9. Raise your hand if you are usually seen quickly (ex. emergency- same day,
              routine – within 5 days) when you need to be?
          10. Raise your hand if you are NOT usually seen quickly when you need to be?
          11. Raise your hand if you know your MH treatment plan?
              Item Tip: Describe treatment team and Tx plan to pts – this is the plan that is
              developed when your psychiatrist, PC, CCI, and you all meet and discuss your
              treatment. It is what you are working on for your mental health treatment.
              The issues that you and your clinicians have identified and that you want
              help with in your treatment sessions.
          12. Raise your hand if you do NOT know your MH treatment plan?
          13. Raise your hand if you agree with your MH treatment plan?
          14. Raise your hand if you do NOT agree with your MH treatment plan?
          15. Raise your hand if you are mostly satisfied with your MH treatment team
              meetings?
          16. What do you like about your MH treatment team meetings (IDTT)?
                o The clinicians listen to me
                o They help me get the treatment I need
                o The IDTT asks what I think
                o The IDTT is helpful
                o I get to discuss treatment with all of my providers at once
                o Other: Specify
          17. Raise your hand if you are NOT mostly satisfied with your MH treatment team
              meetings (IDTT)?
          18. How can your mental health treatment team meetings be improved?
                o Listen to my opinion more
                o Less people in the room
                o They ask what I think
                o Spend more time with me



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          19. Raise your hand if you know how to make an appointment with your PC or
              psychiatrist?
          20. Raise your hand if you do NOT know how to make an appointment with your
              PC or psychiatrist?
          21. Raise your hand if you are satisfied with the treatment from your PC?
          22. What do you like about the treatment you receive from your PC?
                o He/she listens to me
                o He/she cares about me (or understands me)
                o He/she provides methods to help cope
          23. Raise your hand if you are NOT satisfied with the treatment from your PC?
          24. How can the treatment you receive from your PC be improved?
                o Be seen more often
                o Spend more time with me
                o More individualized treatment
                o We would make treatment progress rather a quick check in
          25. Raise your hand if you are satisfied with the treatment from your psychiatrist?
          26. What do you like about the treatment you receive from your psychiatrist?
                o He/she listens to me
                o He/she explains the medications to me
                o He/she provides methods to cope
          27. Raise your hand if you are NOT satisfied with the treatment from your
              psychiatrist?
          28. How can the treatment you receive from your psychiatrist be improved?
                o Be seen more often
                o Spend more time with me
                o Better explain medications
          29. Raise your hand if you are mostly satisfied with your group treatment?
          30. What do you like about your group treatment?
                o The group leader encourages discussion
                o The group leader helps me with my MH issues
                o The clinician pays attention to my treatment needs
                o The clinician asks us all to contribute.
                o I learn new skills/techniques
                o I get support from others
                o I get out of cell
                o I get to interact with others
                o Other: Specify
          31. Raise your hand if you are NOT mostly satisfied with your group treatment?
          32. How can your group treatment be improved?
                o More groups offered
                o Groups more directed to my treatment issues

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             33. Raise your hand if you are usually seen by MH clinicians in a confidential
                 setting?
                 Item Tip: Explain confidential – a private setting where other I/Ps cannot
                 hear or see the interaction and other staff cannot hear the interaction.
             34. Raise your hand if you are NOT usually seen by your MH clinicians in a
                 confidential setting?
             35. For those of you who take psychiatric medication, raise your hand if you
                 usually do NOT have to wait more than 24 hours to start getting a new
                 medication that was prescribed to you?
             36. Raise your hand if you usually have to wait more than 24 hours to start getting
                 a new medication that was prescribed to you?
             37. Raise your hand if you usually get your regular medications on time (ex. AM
                 meds are received between 6:30-8:00 AM, afternoon meds between 1130-
                 1300, PM meds between 1630-1830, and HS meds after 2000).
             38. Raise your hand if you usually do NOT get your regular medications on time?
             39. ML EOP ONLY: How many of you are offered at least 10 hours of treatment per
                 week (for ML) or 5 hours per week (RC).
             40. ML EOP ONLY: How many of you are NOT offered at least 10 hours (or 5 for
                 RC) of treatment per week?
             41. ASU ONLY: Raise your hand if you received the ASU orientation guide?
             42. ASU ONLY: Raise your hand if you have NOT received the ASU orientation
                 guide?
             43. For those of you on heat medications, how many of you are offered
                 alternatives for yard when you have to return from the yard when there is a
                 heat alert? (Note: this is for your report only – will not be calculated).

The following items are not measured on the performance report. Keep measurable data but
also ensure sufficient comments are noted.

             44. Raise your hand if group treatment hours offered usually conflict with other
                 activities (showers, yard, and law library).
             45. Raise your hand if your treatment groups usually start on time and last for the
                 full allotted time.
             46. Raise your hand if your treatment groups usually do NOT start on time and last
                 for the full allotted time.
             47. Raise your hand if the C/Os respond to urgent MH requests.
             48. Raise your hand if the C/Os do NOT respond to urgent MH requests.
             49. ASU Only: Raise your hand if you are offered 10 hours of yard each week.
             50. ASU Only: Raise your hand if you are NOT offered 10 hours of yard each week.

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              51. STRH Male only: Raise your hand if you are offered 18.5 hours of out of cell
                  time each week.
              52. STRH Male only: Raise your hand if you are NOT offered 18.5 hours of out of
                  cell time each week.
              53. STRH RC, female, LTRH: Raise your hand if you are offered 13.5 hours of out of
                  cell time each week.
              54. STRH RC, female, LTRH: Raise your hand if you are NOT offered 13.5 hours of
                  out of cell time each week.
              55. Segregated units: Raise your hand if you have a crank radio, television, or other
                  entertainment device.
              56. Segregated units: Raise your hand if you do NOT have a crank radio, television,
                  or other entertainment device.
              57. ASU EOP: Raise your hand if you are strip searched upon return to cell after
                  remaining within a secure housing unit under the supervision of staff.
              58. Is there anything else regarding the mental health program you would like to
                  share?

Group Treatment Observation (ML EOP, ASU, SHU, PSU, LTRH, STRH, RC EOP, Condemned)
   a) General Guidelines
          Only observe "talking" groups. Not art or exercise groups.
          Before the first I/P is brought in, introduce yourself to the group leader and tell
            him or her:
                  o Introduce yourself to the group
                  o Other than your initial introduction, proceed with the group as they
                    typically would. Do NOT present to you.
          If the CMH or chief psychiatrist is in attendance, ask them if they usually attend
            group; if they don’t, tell them you want to see business as usual and politely ask
            them not to attend.
          If the group leader was changed as a result of your visit, ask if there is another
            group you can attend. If not, note that this change was made and advise the chief
            that a change in group leader should not be made during future visits.

   b) Group Observations
            1. Did the group leader start the group on time?
                 o If the group starts more than 5 minutes after the scheduled time, mark
                   “no” unless there is a legitimate reason (such as the leader attending to a
                   I/P emergency) that does not appear to be the norm.
            2. Did the group leader attempt to engage each participant?
                 o If the group leader asked each group participant a question in an attempt
                   to engage them, this response is “yes” regardless if all the I/Ps actually
                   engaged.

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              3. If media or music is used, is it only used for short periods of time to illustrate?
                    o If a movie or music is used consistently throughout the group, without any
                      pause to apply the contents to treatment, the response to this item is “no.”
              4. Does the leader facilitate interaction between all group members on the
                 clinical topic?
                    o This is about the group leader attempting to get each participant to engage
                      with others about the clinical topic.
              5. For clinician led groups, is clinical process addressed during the group?
                    o Clinician led groups are those led by a social worker, psychologist, or
                      psychiatrist.
                    o For example, if the clinician is using cognitive behavioral techniques to
                      address treatment issues in a stress reduction group, he/she may help
                      group members to dispel stressors that are not real and to focus on steps
                      to address stressors that are real.


Morning Meeting Observation (ASU, ASU EOP HUB, LTRH, STRH)
   a) General guidelines
          To respond to questions relating to the morning meeting, you may either
            interview the ASU sergeant and ASU MH clinical staff about the morning meeting
            the day of the audit or observe the morning meeting.
          The morning meeting observation is only required in one ASU unit but you should
            ensure that for each visit you rotate the units observed.
   b) Responding to questions.
            1. Did MH staff identify high risk I/Ps?
                  o Mental health staff should explicitly state which I/Ps are identified as high
                    risk. On the rare occasion there are none identified, they should also state
                    this or the response on this item is “no”.
            2. Were the ASU Sgt and MH clinician in attendance?
                  o If both the ASU Sgt or designee and a MH clinician were not is attendance,
                    the response on this item is “no.”
            3. Were new arrivals discussed?
            4. Method of measurement: (interview or observation)
                  o Select the method you utilized to respond to the questions above.




Primary Clinician/Psychiatric Technician (PT) Rounds
   a) General guidelines
          Walk with PT (or, in PSU PC), while conducting rounds
          Respond to each question for each I/P rounds observed.

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   b) Responding to Questions.
            1. Did the PC/PT document real time?
            2. Were any medication side effects observed or verbalized by the I/P?
                i. If yes, did the PC/PT document the noted side effects?
            3. Was a MHPC/MHMH consult indicated?
                i. If yes, was the consult order placed?

ICC Observation (ASU, PSU, LTRH, STRH, SHU, Condemned)
   a) General guidelines
          Ask for a list of I/Ps scheduled to attend the ICC before the meeting begins. This is
            often referred to as the “call sheet”.
          You may have to look up the I/P in the eUHR to determine who is in the mental
            health program.
          To save yourself time, and at the institution’s discretion, you may request that
            staff bring in all mental health I/Ps first.
          Respond to questions for each MH I/P’s ICC.
          Before the first I/P is brought in, introduce yourself to the group and tell them:
                  o You should introduce yourself to each I/P.
                  o Other than your initial introduction, proceed with the meeting as they
                    typically would. You want to see business as usual.

   b) Responding to questions.
            1. Is a MH clinician in attendance?
                  o If this isn’t apparent, after the I/P leaves ask if a clinician was present.
            2. Did the MH clinician provide useful information regarding each I/P’s current
               mental condition (e.g. need for medication, tendency for behavioral
               difficulties, suggested interventions, LOC, need for staff assistant)?
                  o Some examples from the program guide (p. 12-7-2)are:
                          I/P’s current participation in treatment
                          Medication compliance
                          Suitability of single or double celling
                          Risk assessment of self-injurious or assaultive behavior
                          Status of ADLs
                          Ability to understand Due Process proceedings
                          Likelihood of decompensation if retained in ASU
                          Recommendations for alternative placement
                          Any other custodial and clinical issues that have an impact on I/P’s
                              mental health treatment.
                  o Not all of the items above must be included to qualify for a “yes” response
                    on this question, but relevant information regarding an I/P’s current
                    mental health condition is expected.



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              3. Did the committee chair consider both the clinical and custody needs of the
                 I/P for program review?
                   o It is expected that this consideration will occur after the mental health
                      clinician provides input but may also surface in terms of a discussion
                      regarding the I/P’s level of care and/or questions the committee chair asks
                      the MH clinician.
              4. If it appears that the I/P’s mental health status had an impact on his/her
                 understanding of the ICC, did staff members ensure effective communication?
                   o This applies only to the I/P who you, as a clinician, observe are having
                      difficulty paying attention to or understanding what ICC members are
                      saying. This is NOT required for all I/Ps.
                   o Note N/A if you judge the I/P as being able to understand.
                   o Note this as a “yes” if any member in the ICC checked the I/P for
                      understanding by asking him/her to restate what was said.
              5. Did the ICC start on time?

High Refusers (ASU EOP and PSU)
   a) General Instructions
          Use the list of high refusers provided in the binder.
          In the ASU EOP Unit, ask for the 128B Chronos for high refusers. These should be
             kept in the 114A.
          Use the information on all 128Bs to respond to each question.
          Run high refuser report one month prior to the reporting period for two month
             increments up until the site visit date to capture I/Ps that refused more than 50%
             for two consecutive months.
   b) High Refuser questions.
         1. How many high refusers were identified (on the list provided)?
         2. Of those, how many 128Bs were available and indicated a discussion between
             mental health and custody staff to address reasons for high refusal?
         3. How many high refusals were due to custody reasons?
         4. Of those in which high refusal was due to custody reasons, how many 128Bs
             include a plan of action to address reasons for high refusal?
             Of those in which high refusal was due to custody, how many was a documented
             discussion between MH and Custody conducted within 7 calendar days?




ASU Intake Screening (ASU Screen Questionnaire MH -7709)
   a) General Instructions
          Observe ASU screening process to see if they are conducted confidentially.
          If not, note reasons for this.

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   b) Question
         1. Are screenings completed in confidential setting unless the I/P refused?

Cell Cleanliness (MHCB, Alternative Housing)
   a) General Instructions
           For all units throughout the prison, observe all of the MHCB, and alternative
              housing cells used for mental health I/Ps.
   b) Cell Cleanliness questions
          1. How many cells were observed?
                     In each unit, enter the total number of cells observed for cell cleanliness.
          2. Of those, how many are clean (free of debris, old food, feces and urine, etc.)?
                     Enter the total number in each unit observed that you classify as “clean.”
                     Clean cells may include but are not limited to:
                          o Free of debris on the floor (use judgment, the I/P’s lunch tray
                              from that day, for example, may not be enough to consider the
                              cell unclean)
                          o Clean floor (no grime on the floor. Floor has clearly been mopped
                              within past few days.)
                          o No grime on walls, vents, and ceiling
                     Another strategy you may use to determine cell cleanliness is to ask the
                      I/Ps.
          3. Number of cells where there is a cleaning schedule that is up to date?
                     Although there is typically one cleaning schedule, ensure it includes all
                      cells and, if so, enter the number of cells if there is one and it is up to
                      date.

Clinical Restraint (MHCB)
   a) General Instructions
           Ask the MHCB RN for their restraint log and the Restraint Checklist (attachment
               D). This was implemented in July 2013.
           Use the log to document the number of restraint occurrences for the last
               COMPLETE QUARTER.
           Do not change the default “audit start date” as it needs to reflect that the audit
               was completed on site during the current quarter.
           Use the checklist to respond to all other questions.
           Ensure any deficiencies are noted in your exit and qualitative summary as this is a
               high risk area.
   b) Clinical restraint questions
          1. How many restraint occurrences were there during the quarter?



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                    Using the restraint checklists, count the number of restraint occurrences
                     there were for the quarter prior to your visit (i.e. If you are visiting in
                     Oct., use July-Sept. data to count the number of occurrences).
                    If the checklist was not done, ask for a restraint log to obtain this data.
                    If no checklist or log is available, note this in your comments and address
                     it in your write-up and exit.
          2. How many restraint incidents met all audit criteria?
                    Use the restraint checklist to respond to this question.
                    Respond for each restraint occurrence.
                    If there is one box on the restraint checklist marked with a “no”, you can
                     respond “no” to this question (this is an “all or nothing” audit).
          3. For deficiencies, which items were not met? Did the institution address the
             deficiencies? How?
                    Use the comment box in CQIT to respond to this item. Only those items
                     documenting how the deficiencies were addressed are considered.
                    You may ask staff if deficiencies were addressed and, if so, where to find
                     the documentation.

Limited Issue Observation (MHCB)
   a) General Instructions
          Do not change the default “audit start date” as it needs to reflect that the audit
            was completed on site during the current quarter.
          Refer to CDCR 7221 Physician’s order
          Refer to CDCR 7230 Progress Note for justification
          Limited issue is anything less than:
                    Socks (1 pair)
                    Clothing
                         o Male I/Ps: 1 pair blue denim jeans and one blue chambray shirt,
                            or one jumpsuit, or one reception center shirt and pants.
                         o Female I/Ps: 1 blouse or T-shirt, 1 pair slacks, or 1 dress, muumuu,
                            robe, or duster, 1 nightgown.
                    Underclothes
                         o Male I/Ps: 1 pair white undershorts (to be exchanged as needed),
                            1 undershirt
                         o Female I/Ps: 1 bra, 1 pair panties (to be exchanged as needed)
                         o Transgendered I/Ps, upon request: 1 brassiere or 1 pair white
                            boxer shorts.
                    Reading material (1 book or psycho educational articles)
                    Hygiene items (1 toothbrush, tooth powder, soap)

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                    One blanket
                    A bed (cement bed with mattress on top acceptable)
                    Prescribed healthcare appliance (pay special attention to this as it may
                     not be apparent the I/P has an appliance. Ask the I/P, ask staff, don’t
                     make assumptions they don’t have/need a healthcare appliance if they
                     don’t have one).
                     Examples:
                         o Glasses
                         o CPAP machine
                         o Cane
                         o Walker
          Randomly select 10 I/Ps who are on limited issue and use their health record to
             respond to the following question.
          While reviewing orders, check for terms like “psych observation”, “crisis
             evaluation” or other nonspecific orders that are inconsistent with policy.
          Check to see if decisions are justified.
   b) Limited Issue Questions
         1. Does the progress note justify limited issue (required every 24 hours)?
                    Vague statements such as “suicide precaution” should not be considered
                     adequate justification.
                    The justification should be written by the provider who writes and
                     updates the physician’s order every 24 hours.
         2. Are vague terms such as suicide obs, or/and suicide eval used?
         3. Are decisions about observation level justified?
         4. Are specific orders for suicide prevention documented?

Nursing Rounds (MHCB)
   a) General Instructions:
          Walk through the unit and look to see if notification of round requirements (Q15,
             etc.) is posted on the doors. (see sample(s) Attachment J)
          Respond for each I/P/rounds observed.
   b) Questions:
         1. Is the check sheet/notice of checks on the door?
         2. Is the correct form (in EHRS) used for documentation of checks?
         3. Are checks staggered not to exceed 15 min?
         4. Are checks being conducted and documented at the cell front while observing
             the I/P?

Alternative Housing
   a) General Instructions

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           Ask staff to see all of their alternative housing cells.
           Respond once for EACH individual cell.
   b) Policy Requirement for Cell Location.
           Correctional Treatment Center Licensed medical beds
           I/P Housing Unit overflow cells
           Large holding cells with toilets
           Large holding cells without toilets
           Triage and Treatment Area or other clinic physical exam room
           Other unit-housing where complete and constant visibility can be maintained.
           Correctional Treatment Center holding cells.
   c) Alternative Housing Questions
          1. Is the cell in an area consistent with policy?
          2. Is the cell clean (free of debris, old food, feces and urine, etc.)? (see Cell
              Cleanliness audit for specific auditing instructions).
          3. Is there a cleaning log?
          4. How many I/Ps in alt housing were observed?
          5. How many I/Ps are on continuous direct visual observation?
          6. Number of I/Ps observed with watch staff actively watching (not reading, talking
              with other staff, etc.)?
          7. How many I/Ps have a bed?

Confidential Screening (RC)
   a) General Instructions
          Observe RC screenings.
          Confidentiality means not within sight & sound of other I/Ps and sound of staff
             members.
   b) Questions
         1. How many RC screens were observed?
         2. Of those observed how many were conducted in a confidential setting?

R&R Screen
   a) General Instructions
          Observe R&R process to see if they are conducted confidentially barring any safety
             and security concerns.
          Check to see if all of the questions are being asked.
   b) Questions
         1. How many R&R screenings were observed?
         2. Of those, how many screenings were conducted in a confidential setting unless
             there is a safety risk that requires an officer in proximity, and the correct
             documentation used?
         3. Of those observed, in how many of the screenings were all questions asked?

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Staff Interview
   a) General Instructions
          Invite all staff to attend.
          Conduct an informal interaction with staff and enter information in comments
             section of CQIT (or take your own notes as this data will only be used for your
             report).
   b) Suggested Questions (This portion is not scripted. These are suggested questions)
         1. Bring up I/P survey items to verify, gain more information.
         2. How many of you have seen the performance report?
         3. Are there any custodial concerns as it relates to access to care?
         4. Are there things that prevent you from being able to do your job?
         5. What would you like us to know?
         6. Are there any barriers to program efficiency and completion of work?
         7. If barriers to program efficiency exist, what are they?
         8. Do you find staff works collaboratively to effectively accomplish required work?

Five Day Follow-Up Assessment
   a) General Instructions
          Using the document provided in your binder, randomly select 15 I/Ps on five day
            follow up who were never admitted to MHCB to interview.
          Interview each I/P to determine if MHCB referral is indicated.
          Assess if they were appropriately NOT referred, or if they should have been
            referred.
          If they should have been referred, have them seen emergently by local MH staff
            for a SRE and MHCB referral review.
          Assessments should include an out of cell interview and be thorough enough for
            the reviewer to determine if the I/P was appropriately NOT referred to MHCB.
          An SRE is not required, but a progress note and referral to local staff should be
            completed if the I/P requires a referral to MHCB.

   b) This item will not show on performance report – this is a report only item.
   c) Questions
          1. How many I/Ps on 5-day follow ups were interviewed?
          2. How many I/Ps were on 5-day follow ups, but not clinically indicated for MHCB
              placement?

Medication Management
   a) General Instructions
          There are no standardized medication management audit questions in CQIT
            except in the patient survey; however, ensure you pay attention to medication
            management issues such as:
                   o Patient reports of delays in receiving medications

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                   o Staff reports of patient safety issues related to medication prescribing or
                     access to medication.
                   o Review medication management items on the healthcare dashboard in
                     advance of your visit and note any areas where you either validate or find
                     discrepancies between your observations and the data.
                   o Ensure you have the psychiatrist on the visit with you while
                     addressing/questioning medication issues, where possible.
Overall Area Rating
   b) General Instructions
          Take into consideration all factors including, but not being limited to applicable
             controls, policies and procedures.
          If there are measures in place to address deficiencies and risk management, note
             this.
   c) Question:
         1. Select one appropriate rating from the list: (considerations are defined for each
             response)
              Not applicable-an overall rating does not apply in this area
              Proficient- controls are adequate and effective in addressing key risks to I/P
                 mental healthcare, documentation meets or exceeds standards, staff are
                 effectively using tools available to them, local policies and procedures are
                 current, etc.
              Improvement is needed –controls are lacking in addressing key risks to I/P
                 mental healthcare and are sporadic, risks are not being effectively managed,
                 documentation does not meet qualitative standards, staff are not aware of
                 the most recent applicable requirements for the area, etc.
              Significant improvement needed-Most findings were rated as critical and/or
                 high and urgent corrective actions are required, documentation was
                 nonexistent or incomplete in communicating intent or I/P treatment,
                 elevated actions must be taken, etc.

Annual IST Suicide Prevention Training
             (Not part of the regular CQIT audit. Part of an annual onsite review of training quality)
   a) General Instructions
          Observe training in session.
          Watch trainer and trainee interaction to respond to the following questions.
   b) Questions:
         1. Was the Suicide Prevention training done by a mental health clinician?
         2. Had the mental health clinician received T4T prior to giving the Suicide
             Prevention training?
         3. Were all the main objectives of the training covered?
         4. Was the duration of the class the full 120 minutes?

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       5. Did the instructor attempt to stimulate discussion?
       6. Did the instructor use examples that illustrated his/her main points?
       7. Was the correct version of the training used?




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Custody Audit Instructions

Treatment Module/Security Desk Standards
  a) General Instructions:
         While visiting areas of the institution for other purposes, view treatment modules
           to respond to each question.
         You may need to ask staff which modules are used for MH treatment to determine
           which are used as treatment modules.
         For institutions and program in which ADA TTMs are required, note in comments
           if an ADA TTM is not available and address in comments and provide to regional
           for reporting.

  b) Treatment Module/Security Desk Questions:
        1. For groups, are the modules/desks in a semi-circle?
            This would primarily relate to segregated units where treatment modules are
               used for group.
        2. Are the modules/desks in an area where other I/Ps and/or staff are not able to
           hear the interaction?
            Locate all modules/ desks used for clinical interaction with I/Ps and confirm
               they are located in an area where other I/Ps and/or staff are not able to hear
               the interaction.
        3. Do the modules/ desks meet PIA approval standards?
            See attached PIA standards.
        4. Do staff report sufficient number of modules/desks for providing treatment?
            Ask several MH clinicians if they usually have a sufficient number of Tx
               modules available to provide treatment.
        5. Are the modules/ desks and treatment area clean? (free of debris, spider webs,
           clean walls, floor)
            Look for garbage on the floors, grime on the walls and floor, spider webs. If
               any are present, mark “no.”

MHCB Mechanical Restraint Documentation
  a) Questions
        1. How many I/Ps are in the MHCB?
             Count how many I/Ps in the MHCB who are not on ASU, STRH, SHU, LTRH,
               PSU or Condemned.
        2. How many 128-Bs determining the requirement for restraints for GP I/P’s are
            present and readily available to MHCB custody staff?


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                Required for all inmates housed in the MHCB and identifies whether or not
                 each requires the use of restraints.
                Confirm a hard copy 128-B is present for each identified I/P.
                Enter the total number of 128-Bs present for I/Ps.

MHCB Treatment Module Use Observation
  a) General Instructions.
         While in the MHCB conducting other audits, observe I/Ps being seen by mental
            health staff in the MHCB.
         If none are observed, ask MHCB custody staff where the I/Ps who do not require
            restraints are seen for mental health treatment. DO NOT ASK LEADING
            QUESTIONS such as: “You don’t put the I/Ps who do not have to be in restraints in
            a treatment module for mental health appointments, do you?”
         Check to see if each I/P you observe has documentation requiring restraints.
         Respond to question for each I/P observed or for each response you receive from
            staff interviews. Respond per I/P– not per interview.
  b) Questions
        1. When an I/P in the MHCB does not require the use of restraints, does the I/P
            attend group and individual therapy outside of a Tx Module?

ASU/STRH/STRH RC/SHU/LTRH/PSU/Condemned – Welfare Checks
  a) General Instructions:
         Review the Guard 1 Rounds Tracker report summaries for the prior 30-day period.
         Refer to the sign/print date to check to see if the custody supervisor signed off on
            the reports.
  b) Questions:
        1. How many “Rounds Tracker Shift Summary” reports were reviewed? (Should be
            90)
        2. How many “Rounds Tracker Shift Summary” reports reviewed were signed by
            the custody supervisor responsible at the end of each shift? (Should be 90)

ASU, SHU, PSU, Condemned Out of Cell Time and Showers
  a) General Instructions:
         Count "R" refused times as offered. (Although not an auditable item, ensure 114-
           As identifying “R” time identifies actual hours refused. e.g. Time Out: R-12:30,
           Time In: 15:30.
         Ask housing unit for copy of their yard schedule to identify days and amount of
           time yard is offered each week.
         Review 20 randomly selected 114-A’s per segregated program (to qualify, the I/P’s
           length of stay must be over four weeks). If you select one and the I/P’s length of
           stay is less than four weeks, skip that file, select another, and move on.


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           Do not change the default “audit start date” as it needs to reflect that the audit
            was completed on site during the current quarter.
  b) Questions:
        1. Out of the past four weeks, how many weeks were required (note: when safety
            and security issues preclude out of cell/yard time the week is not counted as
            required)?
             For each of the randomly selected I/P files, enter the total number of weeks
                in which there were no documented safety or security issues that would have
                prevented the institution staff from offering out of cell/yard time.
        2. Of those, how many weeks were 10 hours of yard offered?
             For each of the randomly selected I/P files, enter the number of weeks
                he/she was offered yard time.
        3. Out of the past four weeks, how many weeks were showers offered at least
            three times per week?
             For each of the randomly selected I/P files, enter the number of weeks
                showers were offered at least three times per week.

ICC Timelines ASU/STRH/STRH RC
  a) General Instructions.
  b) While reviewing 114As for shower and yard time, check to see if the initial ICC was
     completed within 10 calendar days. Questions.
        1. How many 114As were reviewed?
        2. Of those, for how many had initial ICC held within 10 calendar days of ASU or
            STRH placement?

ASU/STRH/STRH RC Intake Procedures
  a) General Instructions.
         Utilize the CQIT ASU Intake Report located in the CQIT Reports folder in SOMS
            Reporting. Use the report to determine current 21 day IP roster. (Institutions
            completing a self-audit may reach out to regional lieutenants and request a copy
            of the report if needed.)
         Identify ASU I/Ps on 21-day Intake Status by reviewing the "Intake Markers"
            posted outside the cell door. Cross reference that information with the ASU
            placement information from COMPSTAT ASU tracking and SOMS.
  b) Questions.
        1. How many I/Ps are in ASU for 21 days or less on "intake" status?
        2. How many I/Ps on intake status have "intake" identifying markers posted on the
            outside of their cell doors?
        3. How many I/Ps are on intake status within the first 72 hours of placement?
        4. How many I/Ps housed in ASU for the first 72 hours are either double celled with
            an appropriate cell partner or are celled alone in a retrofitted intake cell?

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                 Identify I/Ps housed in ASU for the first 72 hours of confinement.
                 Input the total number of those I/Ps who are celled appropriately – either
                  celled alone in a retrofitted cell or double celled.

Entertainment Appliances (ASU, ASU EOP Hub, STRH)
   a) General Instructions.
          Ensure all inmates (regardless of level of care) have been issued an entertainment
             appliance during the first 21-days of their segregation placement. This can include
             multi-powered radios, tablets and personally owned radios or televisions.
   b) Questions.
         1. How many inmates are within the first 21 days of segregation placement?
         2. Of those, how many were in possession of an entertainment appliance?

Unclothed Body Search (ASU EOP HUB and PSU)
   a) General Instructions.
          Respond once for each staff person interviewed.
          Attempt to interview all staff in unit individually.
          Ask the following question, then respond to the question in CQIT.
              When you conduct an unclothed body search, where do you do it? (If out of
                 cell have them show you where they are conducted).
   b) Question
         3. Are unclothed body searches done in a private area?

STRH RC, Female STRH/LTRH, Male LTRH Out of Cell Time and Showers
   a) General Instructions:
          Count "R" refused times as offered.
          Review 20 randomly selected 114-A’s per ASU program (to qualify, the I/P’s length
             of stay must be over four weeks). If you select one and the I/P’s length of stay is
             less than four weeks, skip that file, select another, and move on.
          Do not change the default “audit start date” as it needs to reflect that the audit
             was completed on site during the current quarter.
   b) Questions:
         1. Out of the past four weeks, how many weeks were required (note: when safety
             and security issues preclude yard time the week is not counted as required)?
              For each of the randomly selected IP files, enter the total number of weeks
                 there were no documented safety or security issues that would have
                 prevented the institution staff from offering yard time.
         2. Of those, how many weeks were 10 hours of yard and 3.5 hours of additional out
             of cell activities offered?




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                For each of the randomly selected IP files, enter the number of weeks he/she
                 was offered yard time. STRH-RC housing units may provide 13.5 hours of yard
                 in lieu of providing 3.5 hours of out of cell activities.
          3. Out of the past four weeks, how many weeks were showers offered at least
             three times per week?
              For each of the randomly selected IP files, enter the number of weeks
                 showers were offered at least three times per week.

STRH Male Out of Cell Time and Showers
   a) General Instructions:
          Count "R" refused times as offered.
          Review 20 randomly selected 114-A’s per ASU program (to qualify, the I/P’s length
             of stay must be over four weeks). If you select one and the I/P’s length of stay is
             less than four weeks, skip that file, select another, and move on.
          Do not change the default “audit start date” as it needs to reflect that the audit
             was completed on site during the current quarter.
   b) Questions:
         1. Out of the past four weeks, how many weeks were required (note: when safety
             and security issues preclude yard time the week is not counted as required)?
              For each of the randomly selected IP files, enter the total number of weeks
                 there were no documented safety or security issues that would have
                 prevented the institution staff from offering yard time.
         2. Of those, how many weeks were 18.5 hours of yard offered, with time allocated
             7 days per week?
              For each of the randomly selected IP files, enter the number of weeks he/she
                 was offered yard time.
         3. Out of the past four weeks, how many weeks were showers offered at least
             three times per week?
              For each of the randomly selected IP files, enter the number of weeks he/she
                 was offered a shower at least three times per week.

STRH/LTRH Entertainment Appliances
   a) General Instructions.
          Enter the number of cells audited
          Review institution’s DOM or LOP regarding property.
          Randomly select at least 10 cells and check presence of entertainment appliances
             in cells.
   b) Questions.
         1. How many cells were audited?



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          2. Of those, in how many were entertainment appliances permitted and/or
             provided? (Approved appliances are a television or radio)

Condemned Entertainment Appliances
   a) General Instructions.
          Enter the number of cells audited
          Review institution’s DOM or LOP regarding property.
          Randomly select at least 10 cells and check presence of entertainment appliances
             in cells.
   b) Questions.
         1. How many cells were audited?
         2. Of those, in how many were entertainment appliances permitted and/or
             provided? (Approved appliances are a television or radio)

MHCB Activities
   a) General instructions for all parts of this audit.
         1. If no activities are clinically approved for I/Ps, or a low proportion are approved,
             notify the regional clinical team who will review clinical justification.
   b) Questions.
         1. How many IPs who have attended IDTT are NOT restricted yard time (due to
             clinical risk) as part of their treatment plan?
         2. Of those, how many IPs have documentation in the 114-A identifying yard was
             offered or received?
         3. How many IPs who have attended IDTT are NOT restricted dayroom (due to
             clinical risk) as part of their treatment plan?
         4. Of those, how many IPs have documentation in the 114-A identifying dayroom
             was offered or received?
         5. How many IPs who have attended IDTT receive Rec Therapy as part of their
             treatment plan?
         6. Of those, how many IPs have documentation in the 114-A identifying Rec
             Therapy groups were offered or received?
         7. How many IPs have attended IDTT are NOT restricted phone calls (due to clinical
             risk) as part of their treatment plan?
         8. Of those, how many IPs have documentation in the 114-A identifying a phone
             call was offered or received?
         9. How many IPs who have attended IDTT are NOT restricted from visits (due to
             clinical risk)?
         10. Of those, how many had a visitor arrive at the institution during their time in the
             MHCB for a visit and received a visit?


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                Instruction for Q10: Pull SOMS visiting history for all IPs currently housed in
                 MHCB to verify whether a visitor arrived for a visit. For those IPs who did
                 have a visitor arrive at the institution for a visit, were any visits denied?
                Note any denied visits in comments section and address this in your report.
                If a visit was denied, identify the reason(s) in the notes and the report if
                 appropriate/not appropriate.

All Housing Units – Custody MH Referral Process
   a) Questions
         1. Is housing unit staff aware of their responsibility to complete a 128-MH5 Mental
             Health Referral Chrono when I/Ps exhibit signs of mental illness?
              Interview available staff in housing units regarding awareness of their
                responsibility to complete a 128-MH5, Mental Health Referral Chrono, when
                I/Ps exhibit signs of mental illness.
              Respond to the question once for each individual housing unit staff person
                interviewed.
         2. Are CDCR Forms 128-MH5 (revised 5/14), Mental Health Referral Chronos
             accessible and available to staff (both paper and electronic forms are
             acceptable)?
              Physically check each housing unit for availability of 128MH-5.
              Respond once for each housing unit observed.


All Housing Units – Peace Officer CPR Mouth Shield
   a) General Instructions.
          Go to all housing units on site and ask to see each officer’s Cardiopulmonary
             Resuscitation (CPR) mouth shield.
          The mouth shield MUST be carried by the staff member to qualify as a “yes”
             response.
   b) Questions.
         1. How many peace officers were observed?
              Enter the total number of peace officers queried about their mouth shield in
                 each unit.
         2. Of those, how many peace officers were observed to carry a personal
             Cardiopulmonary Resuscitation (CPR) mouth shield on person?
              Total the number of officers you queried who were carrying their mouth
                 shield and enter that number.




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All Housing Units – Cut Down Kit
Title 15, Section 3365. Suicide Prevention and Response.
    a) General Instructions:
             Go to all housing units on site and ask to see their cut-down kit and inventory log.
    b) Questions.
            1. Does the housing unit have an approved cut-down kit?
                 Respond once per housing unit based upon if there is a cut-down kit present
                    that includes all of the following:
                 Cut-down kit includes:
                        o Durable Response Bag
                        o ResQHook
                        o ResQHook Sheath
                        o AMBU Bag
            2. Is the cut down kit inventoried each shift on the standardized “Cut-Down Kit
                Inventory Sheet”?
                 Select one random date within the past thirty days that is prior to visit and
                    check the log in each applicable unit/area for compliance for that day.
                 Institutions shall receive credit for inventorying cut-down kits whether it is
                    on the standardized inventory sheet or not. However, it must be noted each
                    time an improper inventory sheet is discovered, followed up with providing
                    the institution with the proper inventory sheet to remedy the discrepancy.

All Housing Units – Heat Plan
   a) General Instructions:
          Only required once per year between the months of May – October.
          Physically check the thermometer in every housing unit in which MHSDS I/Ps are
             housed.
          Enter the building number (e.g. D-1) in the sub area drop down of CQIT.
          Respond to audit questions for each thermometer and log checked. If the unit is
             air conditioned and the air conditioner functional, mark N/A for questions about
             the logs.
   b) Questions:
         1. Is a working thermometer present?
         2. Is the thermometer in a location that gives an accurate reading of the
             temperature (e.g., not in front of a fan)?
         3. Is there a heat log that is current? (Logged within the past three hours)?
         4. Is the staff documenting the highest reading (not averaging temperatures)?
         5. Is there a current heat risk list available on the unit?
         6. Does the Daily Activity Report (DAR) reflect alternative out of cell activities were
             offered during periods in which temperatures exceeded 90 degrees?

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               For this question:
                     o Check the DAR for a random period of 10 days when temperatures
                        exceeded 90 degrees, if temperatures were never 90 degrees or
                        above, select n/a.
                     o Report once for all days reviewed to assess overall if alternatives are
                        offered.
                     o The results of this question must be reflected in your write up. No
                        percentage will be calculated using this information, you must write
                        in your report if the institution is or is not providing alternatives
                        during heat recall.
  c) Staff knowledge of heat plan requirements – this is a report only item and will not appear
     on the performance report.
         1. How many staff were interviewed regarding knowledge of heat plan procedures?
         2. Of those, how many were knowledgeable of the heat plan procedures (including
             provisions of alternative activities during heat recall, how to use heat list to recall
             inmates from the yard, etc.)?

On Site Paperwork – Custody MHCB/Alternative Housing Discharge Follow-Ups
  a) General Instructions.
         Do not change the default “audit start date” as it needs to reflect the audit was
            completed on- site during the current quarter.
         Review 15 randomly selected custody follow-ups (or the total number of
            discharges if there were less than 15) to review from a list of I/Ps discharged from
            MHCB for suicidal reasons from the prior quarter (list provided by institution).
         The MHCB discharge custody checks are usually kept with the Litigation
            Coordinators or Associate Warden of Health Care.
         Restricted housing units utilizing Guard 1 are no longer required to complete
            MHCB discharge custody checks.
         Check if custody staff completed checks every 30 minutes for the first (24) hours
            following discharge from a MHCB for each I/P (total responses will be 15, or the
            total number of discharges if there were less than 15).
         Respond to the question one time per I/P’s check sheet audited.
  b) Question:
        1. How many checks were completed (there should be 48 unless transferred out
            sooner than 24 hours)?
             Respond once for each file reviewed.
        2. How many checks were required (there should be 48 unless the I/P transferred
            out before 24 hour period).




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On Site Paperwork – RVRs
   a) General Instruction:
          Do not change the default “audit start date” as it needs to reflect that the audit
             was completed on site during the current quarter.
          Institutions completing a self-audit should reach out to regional lieutenants and
             request copies of all reports utilized for RVRs prior to completing any reviews.
   b) Questions.
             1. During the prior quarter, how many RVRs were issued?
              Identify the number of RVRs by running the CQIT RVR Analytics report in SOMS
                 Reporting (Shared Folders/Team Folders/Mental Health Compliance/CQIT
                 Reports) for the audit period (Q1 Jan-March, Q2 April-June, Q3 July-Sept, Q4
                 Oct-Dec ) Ex: for an audit in April, audit Jan-March RVRs.
             2. Of those, how many were issued to non-MHSDS participants?
             3. How many were issued to IPs at the CCCMS level of care?
             4. How many were issued to IPs at the EOP level of care?
             5. How many were issued to IPs at the MHCB level of care?
             6. How many were issued to IPs at the ICF level of care?
             7. How many were issued to IPs at the acute level of care?
             8. How many assessed RVRs were reviewed?
              Use sample size table – 10% precision level. Population size is total number of
                 RVRs logged per Mental Health Level of Care per quarter.
              Completed RVR's are defined as "Final/Concluded".
             9. Of the RVRs reviewed, how many met the criteria for MH assessment?
              This will be the total number of RVRs listed on the CQIT RVR Report.
             10. Of those, how many were referred for MH assessment?

MH assessments are automatically requested now, your number will be the number of RVRs
listed on the CQIT RVR Report.

             11. Of the RVRs reviewed that met criteria for MH assessment, how many were
                 recommended for the behavior to be documented in an alternate manner
                 (RVR MH assessment q. 2)?
              Using the CQIT MH RVRs Documented in an Alternative Manner Report,
                 located in the CQIT Reports folder in SOMS Reporting, count the number of
                 RVRs listed for the quarter.
             12. Of those, how many did the Captain disagree with the clinician’s
                 recommendation and document their rationale in the Captain’s Review?
             13. Of the RVRs that met criteria for MH assessment, how many did the Captain
                 agree with (reduced to a 128A, 128B or void)?


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                14. Of the assessed RVRs reviewed, how many did the MH clinician recommend
                    mitigation (RVR MH assessment q. 4)?
               15. Of the RVRs reviewed in which mitigation was recommended, how many did
                   the Senior Hearing Officer (SHO) document consideration of mitigation based
                   on the MH clinician's recommendation and document in the findings section of
                   RVR disposition?
               16. Of the RVRs reviewed in which mitigation was recommended, how many did
                   the Senior Hearing Officer (SHO) mitigate?
                 Count how many RVRs were actually mitigated by the Senior Hearing Officer
                    (SHO) by reviewing documentation in findings section of RVR disposition.
               17. How many adjudicated RVRs requiring a CDCR 115 MH-A that could result in a
                   SHU term were reviewed?
               18. Of those, in how many did the ICC consider and document the input from the
                   clinician?
                 Randomly select 20 per institution and use the CQIT RVR Report to identify the
                    RVRs that are SHU-able from the prior quarter. Use SOMS to locate finalized
                    ICC chrono assessing the RVR to respond to Q2.

On Site Paperwork – Custody Training
    a) General Instructions
           Use Staffing information provided by the institution prior to the visit (on the pre-
             visit checklist) to determine overall custody staffing numbers.
           Use the BIS program to determine who has received training.
    b) Custody Training Questions
          1. How many custody staff are there (less long term leave).
          2. Of those, how many are current with biennial CPR training?
          3. Of the total staff how many are current with annual suicide prevention training?
          4. Of the total staff, how many are current with annual UOF Policy training?

Phone Calls, Issuance of Property Tracking, & Transfer Timelines for NDS (ASU, ASU EOP
hub, STRH, STRH RC and Females)
    a) General Instructions
           Run NDS report in SOMS 72 hours (3 days prior to visit) see attachment G for
             instructions “How to Run NDS Report”.
           Talk to staff to see if they can identify which I/Ps are NDS, and if phone calls &
             issuance of property are being tracked.
           For transfer timelines, use the NDS report previously ran against SOMS to
             determine if the IP was transferred within 72 hours of NDS placement. (Note: NDS:
             102 cases are eligible for property and privileges only-not accelerated transfer.
             NDS: 204 cases meet criteria for accelerated transfer, but cannot transfer due to


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             Medical Hold).Count the total number of NDS reviewed and the total number
             transferred within 72 hours.
   b) Questions:
         5. Does staff know which I/Ps are NDS?
         6. Is there tracking for provision of phone calls?
         7. Is there tracking for issuance of property for NDS I/Ps?
         8. How many NDS I/Ps were reviewed for transfer timeliness?
         9. When applicable, how many were transferred within 72 hours?

Use of Force
   a) Instructions:
           Contact the Captain of the Mental Health Compliance Team at DAI HQ two weeks
              prior to the visit and request a copy of the Use of Force incidents for the prior
              quarter.
   b) Questions:
          1. How many controlled UOF incidents involving MHSDS inmates occurred during
              the prior quarter?
          2. How many immediate UOF incidents involving EOP inmates occurred during the
              prior quarter?
          3. If applicable, how many immediate UOF incidents occurred in the MHCB and/or
              PIP during the prior quarter?

Post Visit Instructions
Check-Out Meeting
   a) Before you leave the institution, you will have a check-out meeting. The Regional
      Administrator and Custody audit team lead will attempt to ensure that the Warden, CEO,
      and CMH are in attendance. The custody and mental health audit teams will attend the
      check-out meeting together. (See section f below for exit talking points)
   b) Mental Health audit team members will discuss their impressions during the visit.
          The institution leadership has been notified that specific information related to
              opportunities for improvement within their programs may be discussed at these
              meetings.
          Provide specific information that will enable the institution leadership to take
              action on any high priority areas.
   c) Remind institutional leadership that data will be updated on the performance report
      within several days.
   d) Custody audit team members will also discuss their impressions during the custody
      specific audits.
   e) Address any immediate health and safety issues with the institution leadership and
      ensure they have a course of action before leaving the institution.



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Completing your Report
  a) Once you are certain all data are complete, press the “upload data to server” button on
     the home screen of CQIT.
           One day after you have uploaded the data (the day after the last day of your site
              visit), each team (custody and MH) will run the most recent (14-44 days)
              performance report of the institution for which you are writing the report.
           Click on the “disk” symbol at the top of the page and the select “word”. This opens
              the report in Microsoft word format.
  b) Within three working days of your visit, the custody team will complete the qualitative
     report for each audit category (access to care, quality of care, special populations,
     utilization and resource management, and safety) and submit to the mental health
     regional administrator and Trent Allen.
  c) Within two days of receipt of custody reports, Trent Allen will provide edits, if applicable,
     and submit to the MH Regional Administrator and the regional custody auditor.
  d) Within 10 working days of receipt of custody’s report, the MH regional team will complete
     the written report following the process and template below.
  e) Writing Process
           Once the Regional Administrator receives the custody portion of the report, start
              writing the report at the beginning of the data on the report previously exported
              to word. Note that if formatting changes occur with the data a page break may
              need to be entered before the text.
           Once the finished draft report is ready, including custody’s portion of the report,
              submit a copy to the custody team for final review.
           The custody team will conduct an executive review and will submit the final report
              back to the Regional Administrator or designee within one week. Any edits will be
              in track changes.
           Once the final report is received, the Regional Administrator or designee will save
              the report and email to Laura Ceballos, John Rekart and Ric Castillo within 15
              working days of the visit.
           Headquarters Mental Health Quality Management staff will upload reports onto
              SharePoint within 3 working days of receipt.
  f) General Writing Guidelines
           Use Calibri (Body) 12 point font.
           Proof read. The Regional Administrator is accountable for report quality.
           If there were any immediate health or safety issues, if they are included in your
              report you must include that the issue was addressed, and what the institution
              staff have done to resolve the issue in your report.
           Provide brief introduction that includes demographic/census information.
           Provide brief sentences that state when the institution is performing well on
              items.
           Provide specific examples.
           Compare all sources of data available - note discrepancies and similarities
              between data and observations.

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             Example: Regional staff attended the IDTT in CTC I. There was a full complement
              of staff for the IDTT that began twenty minutes late. This is consistent with staff
              attendance data on the performance report, which reflects 96% of all IDTTs
              measured included all required staff.
             The quarter you are writing your report for will be the quarter during the time of
              your visit (Q1 Jan 1-March 31, Q2 April 1-June 30, Q3 July 1 – Sept. 30, and Q4 Oct.
              1-Dec. 31).
             Avoid opinions. State facts.
             Example: instead of – The lengths of stay in the MHCB are too long.
             Say: Lengths of stay in MHCB exceeded policy requirements. Data reveal that 95%
              of all MHCB admits within the past 6 months had lengths of stay beyond 10 days.
              Ten out of the 55 admits over the past 6 months had lengths of stay beyond 18
              days.
             Use the report writing template (attachment F) to write your report.


Checking your Data
   a) At the conclusion of each visit, the regional analyst should open the performance report
      for the institution toured and check to ensure all data from the visit are showing. The
      “heat grid”, which is accessed by clicking on the colored performance bar, is a user
      friendly way to easily check for missing data.
   b) If data on any indicators are missing, then the analyst can open the CQIT Audit Report to
      check to see if the data were uploaded.
           If data were NOT uploaded, work with your team and/or the custody team to
              ensure all data are entered and uploaded.
           One reason for missing data may be missing responses. The computer will not
              calculate if responses are missing.
           If data WERE uploaded and all responses complete, email Ric Castillo immediately.
   c) Check percentages for CQIT indicators.
           If a percentage is over 100%, check the raw data for data entry errors.
           If a percentage is lower than expected given the impressions from the visit, check
              the raw data for data entry errors.




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                             Attachments




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Attachment A – Pre-Visit Checklist
                                                                                                                  Reporting
Facility:                                                                                                         Period:
Quarter : (1) Jan thru March (2) April thru June) (3) July thru Sept) (4 ) October thru December
Site Visit Dates:
Contact:
Admin:
Instructions: Please ensure that you complete each item on the list before your CQI Site Visit starts. Upon the audit team's
arrival at your institution for the CQI Site Visit, provide the audit team (one for the mental health and one for the custody
team) copies of those items requested on paper. The copies should be organized and presented in a tabbed binder. The
mental health contact at each institution shall coordinate with custody staff to ensure that all custody items are ready for
the audit team upon arrival.


Audit Preparation and Document Request:                                                                           Completed?
1. Two weeks prior the planned audit week, email an IDTT Schedule to the HQ or Regional staff person who
emails you this checklist. The IDTT schedule should include the times and locations for all the IDTTs scheduled
for the entire planned audit week.
2. Two weeks prior to the planned audit week, email a group schedule for all CCCMS,EOP, ASU, PSU,
SHU,LTRH, STRH, STRH RC programs to the HQ or Regional staff person who emails this checklist. The group
schedule should include the times, programs (CCCMS, EOP, ASU, PSU, SHU, LTRH, STRH, STRH RC, and RC EOP)
and locations for all the groups scheduled for the planned audit week.
3. Two weeks prior to the planned audit week, email an ICC Schedule to the HQ or Regional staff person who
emailed you this checklist. The ICC schedule should include the times and locations of all ICCs scheduled for
the entire planned audit week.
4. Two weeks prior to the planned audit week, email a list of DSH and PIP returns for the reporting period
(always the prior quarter from the quarter of the visit) to your regional contact and to Captain
Eric.Hobbs@cdcr.ca.gov.
5. Two weeks prior to the planned audit week, email copies of vacancy reports for all Mental Health staff.
Note the staff on long term leave.
6. Two weeks prior to the planned audit week provide one copy of the past six months (two quarters)of
Mental Health Subcommittee Minutes.
7. Two weeks prior to planned audit week (For ASU EOP HUB and PSU ONLY): Provide a list of inmate-
patients who refused more than 50% of offered treatment in a two month period during the review period.
8. Two weeks prior to planned audit week provide a copy of the Alternative Housing Local Operating
Procedure.
9. Two weeks prior to planned audit week provide a copy of the waitlist for all groups in all programs.
10. Two weeks prior to planned audit week, provide the percentage of all appointments seen in a confidential
setting, by program, for the review period. (Primary Care & Psychiatry contacts)
11. Two weeks prior to planned audit week, provide a copy of MH staff who have received Suicide Risk
Evaluation training.
12. Two weeks prior to planned audit week provide copy of MHCB Operational Procedure and MHCB custody
restraint policy.(Disregard if no MHCB at facility)
13. Two weeks prior to planned audit week provide a list of all patients discharged from the MHCB for
suicidal reasons for the previous six months.(Disregard if no MHCB at facility)
14. Two weeks prior to planned audit week provide the total number of custody staff employed at the
institution. Note the number of staff on long term leave.
15. Two weeks prior to planned audit week provide an IST printout of total number of custody staff who
completed biennial CPR training and annual suicide prevention training.
16. Two weeks prior to planned audit week provide the number of controlled and immediate use of force
incidents, and the number for each type on ICF, ACUTE, MHCB, EOP, and CCCMS patients.


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17. Two weeks prior to planned audit week provide the number of heat related illnesses reported at your
facility during the audit period.


18. 72 hours prior to visit: Using each “Random Patient List” you received from the regional administrator or
analyst prior to the visit, either ducat or coordinate with custody staff to ensure groups of 10 inmate-patients
are scheduled to be seen for a patient group satisfaction survey on a day during the tour. Use the
appointment type "MH CQIT Group Survey"in EHRS. • The goal is to have groups of 10. Please account for
refusals, ducat more than 10 as many will refuse. Remind custody staff that only ten inmate patients are
needed.
• One group per each yard for each program (ML CCCMS, ML EOP, and MHSDS in Reception Centers, STRHin
Reception Centers, ASU, LTRH, and STRH, RC EOP) must be ducated. Ex. Yards A, B,C MLCCMS. No other
programs will require this group interview.
• All MHSDS patients must be ducated at Desert Institutions.
• Ensure adequate, confidential treatment space is available for the group surveys. If treatment modules
MUST be used, ensure they are in a well lit area and are the modules that have seats in them.
• Do NOT cancel treatment appointments for inmate-patients to participate in this interview: Skip those with
scheduling conflicts and move onto the next name on the list.
• Provide custody staff with the script, “Reason for Appointment,” which should be used to inform inmate-
patients why they are being asked to participate in the survey. Follow up with custody to ensure the script is
used.
• Ensure translators or sign language interpreters are also scheduled for any inmate- patients with effective
communication needs.


19. Notify nursing staff that auditors will need access to the “Restraint Log Checklist” for the reporting period,
as stated above, prior to the audit. This is a new checklist that is kept in the MHCB nursing schedule.
20. Provide a current list of all inmate-patients currently on a five day follow-up who were never admitted to
MHCB. This report is run and provided on the the day of the site visit.


21. Notify Warden, Associate Warden of Healthcare, Health Care Access Capt., and CEO or designees of tour
and schedule a pre-visit check in and post-visit check out meeting with the Warden, CEO, Associate Warden of
Healthcare, and Chief of Mental Health. Facility Captains are also encouraged to attend these meetings.

22. Notify the ASU Capt. and other custody staff in the affected areas of the tour.
23. Secure room/space for team to interview selected inmate-patients.

23. Arrange access to C-Files or ERMS. Auditors will need to be able to pull C-files or access ERMS on site.
Ensure records staff are prepared to accommodate these requests.
24. Secure space for the assessment team to leave their personal belongings and work throughout the day.


25. Notify custody staff in ASU that the assessment teams will need access to isolation logs and custody
welfare check logs.

26. Ensure CQI audit teams are provided access to the MHCB Unit Health Records for all inmate-patients in
the MHCB during the time of the assessment.

27. Regional Team shall Interview staff during visit. Schedule a one hour meeting for those who wish to
attend. Coordinate with facility on date/time/place.
28 Provide a current roster of all MHCB inmate-patients.(Disregard if no MHCB at facility)
29. On day of visit provide a list of all ASU inmate-patients currently on 21 day intake status.
30. On day of visit provide list of all ASU inmate-patients currently on 72 hour intake status including date of
ASU placement.
31. Identify where the previous 90 days of MHCB custody follow ups are archived.(Disregard if no MHCB at
facility)


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32. Ensure that the past 5 weeks of 114-As are available in ASU for review and the auditors have a
designated area to review them.
33. Ensure that the past quarter of completed RVRs and the 1154 log are available for review, and that the
auditors have a designated area to review them.
34. On day of visit: Provide SOMS visiting history for inmate-patients currently housed in MHCB.

Other requirements to ensure a successful visit

The CMH shall have a meeting with all staff and notify them of the following:
• Do not make changes to group or IDTT leaders or normal processes for the audit.
• Institution staff shall not attend patient surveys.
• Introduce the auditors (or ask them to introduce themselves) when an IDTT or group is observed, and then
proceed as normal. DO NOT present to the audit team members.
• Notify staff of the staff interview date and time.
MH Regional Team Data Collection Items (To be requested by the regional
teams)
Percentage of staff peer reviewed (HQ QM has) - contact Ric Castillo/Briauna Gorman
SPR FIT committee performance (HQ QM has) - contact Ric Castillo/Briauna Gorman
MHPS committee performance (HQ QM has) - contact Ric Castillo/Briauna Gorman
Number of heat related illnesses
Percentage of staff with completion of SRE Mentor Program - (enter results into CQIT) available here:
http://teamsite/team/Programs/MHI/bh/c.o.training/SitePages/Home.aspx
Percentage of staff with completion of required suicide prevention trainings (enter results into CQIT)-
available here:
http://teamsite/team/Programs/MHI/bh/c.o.training/SitePages/Home.aspx




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Attachment B – Pre-Scheduled Audit Areas
ALL:
      Staff Interview

MHCB:
   IDTT

ASU
      IDTT
      Group Survey ( 1 per yard for each program)
      Group therapy observation (2 different clinicians and groups)
      ICC

EOP
      IDTT
      Group Survey (1 per yard for each program)
      Group therapy observation (2 different clinicians and groups)

CCCMS
    IDTT
    Group Survey (1 per yard for each program)

LTRH/STRH
    IDTT
    Group Survey (1 per yard for each program)
    Group therapy observation (2 different clinicians and groups)
    ICC

SHU
      IDTT
      ICC
      Group Survey (1 per yard for each program)
      Patient group observation - only if groups are offered in their SHU (2 different clinicians
       and groups).

PSU
      IDTT
      ICC
      Group Survey (1 per yard for each program)
      Group Therapy Observation (2 different clinicians and groups)




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RC
        Group Survey (1 per yard for each program)

RC EOP
    Group Observation
    IDTT observation
    Group Survey (1 per yard for each program)

Condemned
    IDTT
    ICC
    Group Survey (1 per yard for each program)
    Group Therapy Observation

Desert Institution
    Group Survey (1 per yard for each program)




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Attachment C – Custody Escort Officer Script
    “Script” for Custody Escort Officers Regarding the Reason for the Group Appointment

Custody officers: Please give each inmate the reason they are being escorted to the patient group
interview appointment. Below is a script you can use.

“A small group of mental health clinicians and administrators from CDCR’s headquarters in
Sacramento would like to interview you regarding your level of satisfaction with the treatment
you are receiving here at _________________.

This interview will be in a small group with other inmates and is completely voluntary. The staff
are not taking down anyone’s names and the results will be kept anonymous.” The results will be
used to help the mental health program improve the treatment provided.




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Attachment D – Restraint Checklist
Use this worksheet to detail the actions of staff (Nursing, Medical, Mental Health and Custody)
for all restraint occurrences and within 24 hours of order termination. Intended goals are 1)
determining if all policies, procedures, regulations were followed within timelines 2) were each
of the items met for each restraint episode 3) if not , what areas were deficient and 4) what is
the corrective action plan to address those areas. Upon completion, file this worksheet in a
notebook that is kept in the MHCB nursing station.
  CDC #                I-P Name(Last)                                   Yes   No     NA             Comments


  Employee                                     Date

      1.   If the patient is medically compromised, was a
           physician contacted prior to or immediately after the
           placement in restraints?
      2.   If the patient is medically compromised or disabled,
           were all necessary steps to safeguard his/her safety
           taken?
           This includes , at a minimum:
                  contact to a physician prior to or immediately
                       after placement into restraints notifying him
                       or her of a medically compromised inmate’s
                       placement into restraints
                  immediately upon notification, physician
                       order of discontinuation from restraints or
                       order of special measures/treatments to be
                       taken to safeguard the patient’s medical
                       condition
      3.   Were at least three (3) custody staff present, with CTC
           staff, for the application of restraints?


      4.   Did the RN perform a mental status and physical
           assessment of the patient immediately upon
           placement in restraints?

      5.   Did the RN document (respond “yes” only if all criteria
           are met):
                     The need for initiation of restraints
                    A description of the patient’s behavior and
                     other relevant factors upon which the
                     patient was determined to be a danger to self
                     or others.
                     Staff action taken to utilize all alternatives.
                     Information about reasons for restraints.
                     Conditions for release.
                    The patient’s response to restraints.
                     If applicable, injuries to the patient?




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    6.   Was a soft cloth or bandage applied to the extremity
         before applying the restraints?



    7.   Was the Watch Commander and Chief Psychiatrist or
         designee notified upon the order for placement in
         restraints?

    8.   Did an authorized clinician give verbal or written order
         within one hour of notification of placement in
         restraints?

    9.   Was the initial order issued four hours or less?




    10. Was a face to face evaluation conducted by an authorized
    clinician or a qualified RN prior to the expiration of the initial
    order (within 4 hours)?



    11. If the clinician conducting the initial face to face
    evaluation was not a physician/psychiatrist, was a
    physician/psychiatrist consulted within four hours of the
    initial order to review current medications and any
    contraindications?
    12. Was each extremity checked every fifteen minutes?




    13. Were fluids, nourishment and bathroom breaks provided
    every 15 minutes as needed and practicable?




     14. Was range of motion performed for two minutes on each
     limb every one hour unless the patient was too agitated or
     assaultive to safely remove restraints?
        Was range of motion (or inability to perform range of
         motion) documented on a restraint/seclusion record?
    15. Were hourly assessments conducted by the RN?




    16. Did the RN document the need for continuation and
    provide justification regarding the elements of the emergency
    necessitating restraints on a progress note?




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    17. Did the RN contact an authorized clinician every 4 hours
    to provide a description of current behavior?




    18. Did the authorized clinician or RN conduct a face to face
    evaluation every 8 hours?




    19. If the initial order was given via telephone did the
    authorized clinician sign the order within 24 hours?




    20. Did the authorized clinician write an order every 24 hours
    with a treatment plan that specifies rationale for restraints
    and behavioral goals for removal of restraints?



    21. Did psychiatrist conduct a face to face evaluation every 24
    hours?




    22. Were restraints terminated when conditions of release
    were met, when the patient identified behavior or danger to
    self or others were no longer present, or when it would be
    harmful for the patient to remain in restraints due to medical
    contraindications?
    23. Was the restraint log kept and updated?




    24. If a staff or patient injury occurred, was an adverse
    sentinel event reporting form completed and submitted?




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Attachment E – Regional Technical Instructions
  1. Log in to tablet
  2. To change LAN settings
      Tools
      internet options
      connections
      LAN settings
      Unclick “use a proxy server for your LAN” when not in CCHCS network (ie. Working via
         vpn).

  3. Log in to VPN
      Click on VPN icon (bottom right of computer)
      Enter VPN.CPHCS.CA.GOV
      First login first name.last name, password is Welcome!
      Change password, and re-enter (jot it down as it will not change).

  4. Upload CQIT Tool
      Click on update/install tool link included in “On Site Audit Guidebook”
      Select “open”

  5. Check CQIT installation
      Click on circular CQIT icon
      Security Warning at top of page, options – select “enable this content”
      Click next in tool to make sure it works properly.

  6. Refresh Patient Lists
      Click on “refresh patient lists” button on home page of CQIT

  7. Upload data
      Click on “upload data to server” button on the CQIT home page at the conclusion of
        your visit. This must be done while connected to VPN.
           o If attempt is unsuccessful it is likely due to slow internet speed. This may
                happen with a poor hot spot connection.




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Attachment F – Report Writing Outline

Please see separate attachment entitled Report Writing Outline.




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Attachment G – How to Run the Non-Disciplinary Segregation Report
(NDS) in SOMS

1.     Click on the “Prison” tab
2.     Select Inmate Record
3.     Select Inmate Search
4.     Under Current Location – Select desired location
5.     For Classification Area:
       1) Custody: Select “MAX”
       2) NDS Placement: Select “Yes”
6.     Click on “Search” button

A list of all inmate patients assigned to the selected institution on NDS status will appear.




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Click “Search” at the top of the screen.




The user can use the dropdown box at the bottom of the screen to export the list into excel if
they choose. Clicking “Show All Inmates” will list all inmates on one page.




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Attachment H – CQI Entrance Talking Points
        Introduce every member of the team
        State the purpose of the visit: To provide information to you (the institution
         leadership and staff) to use as part of their own self-monitoring and improvement
         system.
        Provide an overview of the schedule
        Indicate when (and where) data will be available (MH performance report within a
         week of the visit).
        Indicate when they can expect a written report.
        What has changed over past year that has impacted your program and we may not
         know about?
              o New units
              o Mission changes
        Are there any other anticipated changes upcoming?
        Review performance data and ask any clarification questions.
              o Include all performance data such as MAPIP and chart reviews (all are on
                  performance report).
        Discuss staffing: Which positions are nearly filled, where they are having difficulty –
         ask if there is anything you need to be aware of that has impacted their ability to staff.
        Ask if there is any particular area they would like for you to pay attention to on the
         visit.
        Ask if there are any other questions or comments
        Request the doc request binders (one for custody and one for MH regional teams)




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Attachment I – Case Selection Review Guidelines
Case Review Selection Guidelines
      Obtain a random targeted sample.
           o (E.g. random of all EOP inmates if we are looking at something specific to EOP).
      May Include patients who are seen on a visit or when approached on a visit, or if there
       are complaints on a patient interview.
      Reviews may be done as a result of a specific issue/question
      Consider reviews if something comes up regarding RVRs, Use of Force, or other custody
       issues.
      Do case reviews at desert institutions.
      For efficiency – when you review a chart based upon an observation on site, do the chart
       review the same day.
      Ask custody Lieutenants to provide cases to you for review.
           o (E.g. MHSDS inmate with multiple RVRs, use of force or controlled use of force
               incidents – particularly ICF, ACUTE, MHCB LOC, or when there are cases where
               content of SOMS says patient wasn’t seen despite asking multiple times, etc.
               Lieutenants refer to MH reviewer for case review).


Case Review Writing Guidelines
      Include identifying information
      Explicitly state why case was reviewed (ask yourself, why did I review the case).
      Provide a concise history for context.
           o (E.g. patient X has been at MCSP EOP for xxx, dx, brief chronology, course “what
               has happened to this person”. If its years of info, you can say, what time period
               you reviewed and acknowledge you didn’t review years of info.)
      Associate the case with big picture (staff and patient interviews, observation, chart audit
       and timelines data).
      Most important: Provide overall assessment, findings, and recommendations. Were there
       any problems or not? Give conclusion and outcome.
      Reference the cases in text, give sequential numbers so you can footnote/reference them.
      All docs, report and case reviews separately should be a standalone document.
      Look at all case reviews and pull out themes – this will be evident after review from the
       cases.




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Attachment J – Exit Interview Talking Points
Mental Health Exit
Program Overview:
    Indicate if the institution passed on MH items
    Vacancy Rates
    Program changes, census
    Status of any housing considerations
         o Transfer timelines: percent transferred within required timelines


Access to Care:
    Timely PC contacts: percentage and note pt survey responses and observations
    Timely Psy contacts: percentage and note pt survey responses and observations
    Timely IDTTs: percentage and note pt survey responses and observations
    Medication continuity/access: note MAPIP results and pt survey responses and
       observations
    Refusals: Note performance report “tx hours attended” percentage and augment with pt
       survey results, staff survey results, and observations. (WHY are pts refusing a lot if
       refusing a lot. If pts mostly go to tx, what does the institution do to accomplish this?).
           o For refusals in ASU EOP – were the discussions between PC and custody held to
               address issues?
    If any other access issues identified, note what these were. If exceptional practices are in
       place to improve access, note this.


Quality of Care:
By Yard/Program:
     Quality of IDTTS: Overall good or not. Note areas for improvement. Note if something was
       done exceptionally well.
     Quality of Groups: Overall good or not. Note areas for improvement. Note if something
       was done exceptionally well.
     Treatment space assessment (confidential? Is there enough?)
     Are groups offered in CCCMS? If so, is there a waitlist?


MHCB:
   Cleanliness of cells
          o Was there a log?
   Were patients given full issue unless they were on suicide watch or precaution (which was
      clearly noted in chart).
   For those on 1:1 watch was person actively watching (not reading, etc).
   Were nursing 15 min. check sheets on the door and staggered on time?


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Alt Housing:
     From performance report: percent of MHCB referrals transferred within 24 hours “timely
       transfers to MHCB”
     How many were in alt housing?
     Were cells in use consistent with location order of policy?
     Were cells clean?
     Was everyone on 1:1 watch?
     Did every Alt housing cell have a bed and toilet?

Segregation:

By Yard/Program:
     Clinician input at ICC and custody consideration

R&R:
 Was the correct form used and were all questions asked for the nurse intake screen?
 Was the screen conducted in confidential setting? If not, why?

Custody Exit – To be presented by the MHCT Regional Lieutenants
Overall:
    Indicate if the institution passed on custody items and provide the % score when
       applicable
    Percent of custody staff who completed CPR training
    Percent of custody staff who completed suicide prevention training
    RVRs
          o Percent issued to CCCMS:
          o Percent issued to EOP:
          o Percent issued to MHCB:
          o Percent of RVRs with recommended mitigation, and percent mitigation
              considered. Percent mitigated.

By Program/Yard:
     Heat Plan:
           o Did staff log correctly and consistently per policy?
           o Were alternative activities provided (when applicable, if not applicable because
               temps never rose above 90 indicate this)
     CPR shields: Percent of staff on each yard with these on person
     MH referrals (128-MH5): percent of staff on each yard with knowledge of how to refer
     If referral forms were not on a yard, state where they need them.
     Did all buildings have complete cut down kits accessible and with proper inventory?
     MHCB custody discharge checks: Percent completed on time (once every 30 min) per
       policy
     Coleman Posters – Are they present? Are they the correct version?
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Segregation (ASU, ASU EOP HUB, STRH, LTRH, SHU, PSU, Condemned):
    Tx module placement and cleanliness.
    Guard one %. If there is an overflow housing unit, were the manual checks documented
       correctly and %.
    % for out of cell time
    % for showers
    ICC - % of inmates seen within 10 days of ASU or STRH placement
    Intake Cells
           o Did they have placards?
           o Are they placing inmates in intake cells as required?
           o Were inmates identified that required intake cells and were not in one?
    Entertainment Appliances/Hand Cranked Radios – Distributed upon admission and up to
       21 days or longer?
    Unclothed Body Searches (ASU EOP and PSU) – Conducted in a private setting?
    Non-Disciplinary Segregation (NDS) – Is there an appropriate tracking of NDS inmates and
       their privileges (phone calls, property)?

MHCB:
   Were inmates not on max custody status escorted without mechanical restraints? For
      those who were, was there a 128B with appropriate justification for use of restraints?
   Does the institution use Tx Modules for group and/or individual therapy for those inmates
      NOT on mechanical restraint status? If so, is there appropriate justification?




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Attachment K – Security Desks




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Attachment L – Treatment Modules and Security Booths




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